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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                      §
    In re:                                            §
                                                      §       Chapter 11
                                                 1
    LOCKWOOD HOLDINGS, INC., et al.,                  §
                                                      §       Case No. 18-30197 (DRJ)
             Reorganized Debtors.                     §
                                                      §       Jointly Administered
                                                      §

                   EMERGENCY MOTION OF MARK SHAPIRO TO ENFORCE
                     CONFIRMATION ORDER AND FINAL FEE ORDER OF
                     GLASSRATNER ADVISORY & CAPITAL GROUP, LLC

    Emergency relief has been requested. A hearing will be conducted on this matter on
    February 4, 2021, at 3:30 pm by audio/video connection.

    Audio communication will be by use of the Court’s dial-in facility. You may access the
    facility at (832) 917-1510. You will be responsible for your own long-distance charges.
    Once connected, you will be asked to enter the conference room number. Judge Jones
    conference room number is 205691.

    You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that
    you download the free GoToMeeting application. To connect, you should enter the meeting
    code “JudgeJones” in the GoToMeeting app or click the link on Judge Jones home page
    on the Southern District of Texas website. Once connected, click the settings icon in the
    upper right corner and enter your name under the personal information setting.

    If you object to the relief requested or you believe that expedited consideration is not
    warranted, you must either appear at the hearing or file a written response prior to the
    hearing. Otherwise, the Court may treat the pleading as unopposed and grant the relief
    requested.

    Relief is requested not later than February 5, 2021.




1
  The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc.
(0197); Lockwood International, Inc. (8597); LMG Manufacturing, Inc. (9468); Lockwood Enterprises, Inc. (6504);
and 7807 Eagle Lane, LLC (7382).




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         Mark Shapiro (“Shapiro”), the former duly-appointed chief restructuring officer for

Lockwood Holdings, Inc., et al., the above-captioned debtors (collectively, the “Debtors” and post-

confirmation, the “Reorganized Debtors”), for his Emergency Motion to Enforce Confirmation

Order and Final Fee Application Order of GlassRatner Advisory & Capital Group, LLC,

respectfully represents:

                                   PRELIMINARY STATEMENT

         1.        On February 6, 2019, after a contested hearing, this Court entered its Confirmation

Order (defined below) confirming the Compromise Plan (defined below). The Compromise Plan

and Confirmation Order contain customary release, exculpation and injunction provisions.

Shapiro and his firm, GlassRatner Advisory & Capital Group, LLC (“GlassRatner”), are

beneficiaries of these provisions. The Court confirmed the Compromise Plan over the objection

of Michael Lockwood (“Mr. Lockwood”), the direct or indirect equity owner of the Debtors, with

certain modifications to the form of Confirmation Order that did not materially change the Plan or

its release, exculpation and injunction provisions.

         2.        On August 20, 2019, after notice and opportunity for a hearing, this Court entered

the GlassRatner Fee Order (defined below) approving, on a final basis, the fees and expenses

incurred by GlassRatner during these cases. Mr. Lockwood did not object to entry of the

GlassRatner Fee Order.

         3.        On multiple occasions throughout these chapter 11 cases, Mr. Lockwood appeared

before this Court, either pro se or through counsel. However, in direct violation of the express

terms of the Compromise Plan, and almost two years after entry of the Confirmation Order, Mr.

Lockwood sued Shapiro in state court in Harris County, Texas, effectively asserting that since the

result of these chapter 11 cases was not to his liking, Shapiro should be held liable – to the tune of




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ONE BILLION DOLLARS. The State Court Lawsuit (defined below) is a not-so-thinly-veiled

collateral attack on the Compromise Plan, the Confirmation Order and the GlassRatner Fee Order.

The Court should enforce its prior orders and find that the State Court Lawsuit violates the

Compromise Plan and the Confirmation Order, and is also barred under principles of res judicata

by entry of the GlassRatner Fee Order.

         4.        In the State Court Lawsuit, Mr. Lockwood complains that he was somehow

damaged by Shapiro’s alleged failure to disclose that Wells Fargo Bank, N.A. was a creditor of

GlassRatner’s parent company, B. Riley Financial, Inc. (which acquired the equity interest of

GlassRatner on August 1, 2018 in the middle of these chapter 11 cases). This claim is baseless.

If Mr. Lockwood had a theoretical cause of action against Shapiro for failure to disclose (which

he does not), he lacks standing to assert it, as the terms of the Compromise Plan transferred any

estate claims that were not released under the Compromise Plan to the Creditor Trust. The Court

acknowledged as much at the confirmation hearing, noting that “there simply can’t be a direct

claim” by Mr. Lockwood, 2 and that Mr. Lockwood “does not have the ability to bring derivative

causes of action.” 3 And although the Confirmation Order preserves certain alleged claims held by

Mr. Lockwood, that provision only applies to direct claims. 4

         5.        In any event, no viable claim or cause of action exists because (i) Shapiro and

GlassRatner made adequate disclosures and (ii) the exculpation, release and injunction provisions




2
  Transcript of proceeding on February 5, 2019 (“Tr.”), attached hereto as Exhibit C, at 56:2-11.
          The Court: “Mr. Brookner, I just want to make sure that the Debtors understand that that is the problem and
          that as part of the compromise, that claim -- I don’t understand how there could be a direct claim and I don’t
          understand how you could release a third party claim. I just don’t -- one, I don’t say anything could arise
          because if I make the findings under 1129, to the extent that it all rises out of the bankruptcy and the
          confirmation process, there simply can’t be a direct claim. So, Mr. Brookner, let me -- help me understand --
          so, Mr. Brookner, help me understand what it is that we’re actually fighting over.”
3
  Tr. 61:1-3.
4
  Confirmation Order ¶28; see also Tr. 60:21-15; 61:1-3.


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of the Compromise Plan and Confirmation Order insulate Shapiro from these types of harassing

lawsuits, as does the res judicata effect of the GlassRatner Fee Order.

                                    JURISDICTION AND VENUE

         6.        The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (L) and (O). Among

other things, the Motion asks the Court to exercise its inherent powers to enforce its own orders

and award fees and expenses for the willful and intentional violation of a Court order. See, e.g.,

In re Skyport Glob. Commc’n, Inc., 942 F. App’x 301, 303-04 (5th Cir. 2016) (holding that

bankruptcy court had inherent authority to award fees and expenses against a litigant that took

action in state court in direct contravention of bankruptcy court order).

         7.        It is also axiomatic that this Court has jurisdiction to interpret and enforce its own

orders while a case is pending. See, e.g., Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009)

(holding that bankruptcy court “plainly had jurisdiction to interpret and enforce its own prior

orders”); In re Rodriguez, 252 F.3d 435 (5th Cir. 2001) (“When an estate is in administration, a

bankruptcy court retains jurisdiction to interpret and enforce its own orders to ensure their proper

execution”); see also 11 U.S.C. § 105(a) (providing that the bankruptcy court “may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title. No

provision of this title providing for the raising of an issue by a party in interest shall be construed

to preclude the court from, sua sponte, taking any action or making any determination necessary .

. . to enforce or implement court orders or rules, or to prevent abuse of process”). The Court also




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has exclusive jurisdiction to decide this Motion by virtue of Article XII of the Compromise Plan

and paragraph 30 of the Confirmation Order. 5

         8.        Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                         PROCEDURAL HISTORY AND BACKGROUND

    I.         History of These Chapter 11 Cases

         9.        On January 18, 2018, Lockwood Holdings, Inc., LH Aviation, LLC, and Piping

Components, Inc. filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. On

January 24, 2018, Lockwood International, Inc., Lockwood Enterprises, Inc., LMG

Manufacturing, Inc., and 7807 Eagle Lane, LLC filed voluntary petitions for relief under chapter

11 of the Bankruptcy Code. The cases are being jointly administered, as captioned above.

         10.       Throughout the chapter 11 cases, the Debtors operated their business and managed

their properties as debtors in possession, pursuant to sections 1107 and 1108 of the Bankruptcy

Code. An official committee of unsecured creditors (the “Committee”) was appointed by the

Office of the U.S. Trustee on February 20, 2018, as amended on March 2, 2018. See Docket Nos.

131 and 171. No trustee or examiner was appointed.

         11.       These chapter 11 cases were commenced, in part, due to the Debtors’ strained

relationship with their prepetition lenders, Wells Fargo Bank, N.A. (“Wells Fargo”) and Trustmark

National Bank (together with Wells Fargo, the “Prepetition Lenders”). The record is replete with

examples of the adversarial relationship between the Debtors and Wells Fargo, as evidenced by



5
  The Plan provides, inter alia, that the Bankruptcy Court shall have exclusive jurisdiction to “take any action and
issue such orders as may be necessary to construe, enforce, implement, execute and consummate the Plan or maintain
the integrity of the Plan following consummation,” “to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Confirmation Order, the documents . . . ,” “to hear
and determine all disputes involving the existence, scope, and nature of the exculpations and releases granted
hereunder,” and “to issue injunctions and effect any other actions that may be necessary or desirable to restrain
interference by any entity with the consummation or implementation of the Plan.” See Article XII of the Compromise
Plan.


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the many objections filed, contested hearings conducted, and sundry issues negotiated, including

a mediation before the Honorable Richard Schmidt that formed the basis of the Compromise Plan. 6

One of the items Wells Fargo insisted upon was the installation of a chief restructuring officer to

help navigate the Debtors through these chapter 11 cases.

         12.       On January 31, 2018, the Debtors filed their Emergency Application (I) Authorizing

the Retention of GlassRatner Advisory & Capital Group, LLC to Provide Chief Restructuring

Officer and Certain Additional Personnel, (II) Designating Mark Shapiro as Chief Restructuring

Officer Effective as of January 26, 2018, and (III) Granting Related Relief (Docket No. 41) (the

“GlassRatner Employment Application”). The GlassRatner Employment Application sought to

retain GlassRatner to provide restructuring services to the estates, with Shapiro designated as the

Debtors’ chief restructuring officer. The GlassRatner Employment Application was supported by

the Shapiro Declaration, attached thereto as Exhibit B. The Shapiro Declaration (i) set forth the

steps that GlassRatner undertook to determine whether it had any disqualifying conflicts, (ii)

disclosed any relationships that GlassRatner had with interested parties (including Wells Fargo),

and (iii) provided that GlassRatner would supplement the Shapiro Declaration in the event that

additional disclosures needed to be made. On February 16, 2018, after notice and a hearing, the

Court entered its order granting the GlassRatner Employment Application [Docket No. 117] (the

“GlassRatner Employment Order”).

         13.       Thereafter, the Debtors, as assisted by Shapiro, engaged in a dual-track effort to

market their assets for sale or raise funds to effect a stand-alone reorganization. No parties came




6
  Based upon a PACER search, it appears that Wells Fargo filed at least 31 separate pleadings or notices in these
bankruptcy cases and appeared at least at 13 different court hearings during the course of the cases. Contested hearings
and/or at least initial contests from Wells Fargo included issues respecting cash collateral, debtor in possession
financing, a sale process, confirmation of the plan, and a post-effective date dispute with Wells Fargo over the return
of approximately $650,000.00 to the bankruptcy estate.


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forward to provide funding for a restructuring. But, multiple bids were received to purchase the

Debtors’ assets, and ultimately, the Debtors conducted a robust auction on August 15, 2018. At

the conclusion of the Auction, substantially all of the Debtors’ assets were sold in multiple lots to

several third parties. Wells Fargo was present at the auction but did not participate in the bidding.

Mr. Lockwood did not appear at the auction or otherwise make a timely bid on any of the Debtors’

assets. Rather, Mr. Lockwood appeared the sale hearing with a late and non-conforming bid for

the Debtors’ assets and objected to the sale to the successful bidders at auction. After engaging in

a direct colloquy with Mr. Lockwood, the Court overruled his objection and approved the sale of

the Debtors’ assets. 7

           14.     Immediately prior to the Auction, on August 1, 2018, GlassRatner was acquired by,

and made a subsidiary of B. Riley Financial, Inc. (“B. Riley”). Shapiro was not aware of the B.

Riley acquisition until one day before, July 31, 2018. As contemplated by the GlassRatner

Employment Order, on August 8, 2018, Shapiro promptly submitted a supplemental declaration in

support of the GlassRatner Employment Application [Docket No 568] (the “Shapiro Supplemental

Declaration”). The Shapiro Supplemental Declaration disclosed that Great American Group, a B.

Riley affiliate, performed valuation services for Wells Fargo, as well as other potential

relationships between B. Riley and other parties in interest in these chapter 11 cases. Unbeknownst

to Shapiro, and despite the conflicts check performed by B. Riley in connection with the Shapiro

Supplemental Declaration, Wells Fargo was a lender to B. Riley at the time, in that it made

available a line of credit to fund Great American’s retail liquidation services, which include the




7
    See Docket Nos. 662, 664, 665, 666 and 706.


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purchase of inventory and FF&E. This line of credit was and is totally unrelated to Debtors or

these chapter 11 cases. 8

         15.       On November 5, 2018, the Debtors, the Committee, and the Prepetition Lenders

participated in a mediation before Judge Schmidt concerning the contents of a chapter 11 plan,

how the Debtors’ various assets were to be distributed (e.g., causes of action, insurance proceeds,

cash on hand, etc.) and emergence from chapter 11. Mr. Lockwood and his counsel, Mr.

Spagnoletti, were present at the mediation, though they voluntarily left in an amicable manner

prior to the time the final deal was sealed. As a result of the aforementioned mediation, on

December 21, 2018, the Debtors, the Committee, and the Prepetition Lenders filed their

Compromise Joint Chapter 11 Plan [Docket No. 824] (the “Compromise Plan”).

         16.       Section 11.3 of the Compromise Plan is titled “Releases by the Debtors” and

provides as follows:

                   On the Effective Date, the Debtors shall fully and forever release, acquit,
                   discharge and dismiss any and all claims, obligations, suits, judgments,
                   damages, rights, remedies, causes of action and liabilities of any nature,
                   whether known or unknown, foreseen or unforeseen, liquidated or
                   unliquidated, matured or unmatured, contingent or non-contingent, existing
                   or hereafter arising, in law, equity or otherwise, including any claims or
                   causes of action under Chapter 5 of the Bankruptcy Code or other applicable
                   law which they have or may have against any of the Exculpated Parties,
                   Wells Fargo Equipment Finance, Inc., Wells Fargo Securities, LLC, and
                   each of their respective present or former members, managers, officers,
                   directors, employees, partners, principals, predecessors, successors and
                   assigns, affiliates, funds, advisors, attorneys, agents and representatives and
                   their respective property.


8
  Obviously, had Shapiro known about B. Riley’s lender-borrower relationship with Wells Fargo, it would have been
disclosed. However, given (i) the fact that Wells Fargo was a creditor of GlassRatner’s parent company, (ii) that
Shapiro had operated as CRO for a full six months before B. Riley acquired GlassRatner, and (iii) the contentious and
often adversarial relationship between Wells Fargo and the Debtors during these chapter 11 cases, it is clear there was
no “favoritism” towards Wells Fargo in any way. Instead, the Debtors proceeded according and pursuant to their
agreement with the Prepetition Lenders for a dual-track process, which was approved by the Court in various orders
(DIP financing order, Docket No. 359 and the bidding procedures order, Docket No. 513), which were entered,
respectively, in April 2018 and July 2018, well before the B. Riley acquisition closed or Shapiro was even aware of
the same.


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         17.       Section 11.5(a) of the Compromise Plan is titled “Injunction and Stay” and

provides, in relevant part, as follows:

                   Except as otherwise expressly provided in this Plan, all Persons or entities
                   who have held, hold, or may hold Claims against or Equity Interests in any
                   Debtor are permanently enjoined, from and after the Effective Date, from
                   (i) commencing or continuing in any manner any action or other proceeding
                   of any kind on any such Claim or Equity Interest against . . . [any] other
                   entity released, discharged or exculpated hereunder, . . . or (v) pursuing any
                   Claim released under the Plan.

         18.       Additionally, section 11.2 of the Compromise Plan contains an exculpation

provision that was revised slightly at confirmation and is discussed more fully below. In sum,

however, the Compromise Plan and the Confirmation Order released and exculpated Shapiro and

GlassRatner from any claims of the Debtors and their estates, and the holders of Claims against or

Equity Interests in any debtor were permanently enjoined under the Compromise Plan from

pursuing any claim released thereunder. The Compromise Plan also provided that all Causes of

Action owned by the Debtors or their respective Estates, “except as the same may be dismissed,

settled or released pursuant to the Plan” were transferred to the Creditor Trust on the Effective

Date of the Plan. 9

         19.       The Debtors’ solicited the Compromise Plan, which was widely accepted by the

Debtors’ creditors. On January 27, 2019, Mr. Lockwood objected to the releases and exculpations

contained in the Compromise Plan, including the releases to Wells Fargo and GlassRatner [Docket

No. 860] (the “Lockwood Plan Objection”).

         20.       At the confirmation hearing held on February 5, 2019, the Court overruled the

Lockwood Plan Objection and made express findings that the Compromise Plan was proposed and

negotiated in good faith, the global settlement was the product of arm’s-length negotiations, and


9
  See the definition of “Creditor Trust Assets” on page 3 of the Compromise Plan and section 11.1 of the Compromise
Plan.


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the releases, exculpations and injunctions in the plan were “fair, equitable, reasonable and in the

best interest of the Debtors and their estates, creditors and equity holders,” all as reflected in the

Findings of Fact, Conclusions of Law, and Order (I) Approving Disclosure Statement on a Final

Basis and (II) Confirming Compromise Joint Chapter 11 Plan [Docket No. 882] (the

“Confirmation Order”). 10         Paragraph 21 of the Confirmation Order expressly approved the

exculpations, injunctions and releases contained in the Compromise Plan, except as modified by

the Confirmation Order itself. Paragraph 27 of the Confirmation Order slightly revised the

exculpation provision of section 11.2 of the Compromise Plan, to provide as follows:

                   Neither the Exculpated Parties, Wells Fargo Equipment Finance, Inc., nor
                   any of their respective present or former members, managers, officers,
                   directors, employees, equity holders, partners, affiliates, funds, advisors,
                   attorneys or agents, or any of their predecessors, successors or assigns, shall
                   have or incur any liability to any holder of a Claim or an Equity Interest, or
                   any other party-in-interest, or any of their respective agents, employees,
                   equity holders, partners, members, affiliates, funds, advisors, attorneys or
                   agents, or any of their successors or assigns, for any act or omission in
                   connection with, relating to, or arising out of the events leading up to the
                   confirmation of this Plan and final approval of the Disclosure Statement,
                   the negotiation and pursuit of approval of the Disclosure Statement, the
                   preparation of the Plan, the solicitation of acceptances of the Plan, the
                   pursuit of confirmation of the Plan, the funding of the Plan, the
                   consummation of the Plan, or the administration of the Plan or the property
                   to be distributed under the Plan, and shall be deemed to have acted in good
                   faith in connection therewith and entitled to the protections of section
                   1125(e) of the Bankruptcy Code. Notwithstanding anything to the contrary
                   contained in this Plan, this section 11.2 shall not exculpate any party from
                   any liability based upon gross negligence or willful misconduct.

           21.     The effective date of the Compromise Plan occurred on June 26, 2019 (the

“Effective Date”). See Docket No. 1005.

           22.     On July 26, 2019, GlassRatner filed its Fourth Interim and Final Application of

GlassRatner Advisory & Capital Group, LLC, as Chief Restructuring Officer and Certain



10
     See Confirmation Order ¶¶ O, FF, II, KK and NN.


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Additional Personnel to the Debtors, for Reimbursement of Fees and Expenses [Docket No. 1023]

(the “GlassRatner Fee Application”).                The GlassRatner Fee Application was served on the

appropriate notice parties, including Mr. Lockwood, and provided them with an opportunity to

object to the fees sought therein. 11 Mr. Lockwood did not file an objection or other response to

the GlassRatner Fee Application. On August 20, 2019, the Court entered its final order allowing

GlassRatner’s requested fees [Docket No. 1041] (the “GlassRatner Fee Order”).

       II.         The State Court Lawsuit

             23.      As described above, Mr. Lockwood was an active participant in these chapter 11

cases, including appearing pro se, or through counsel, at various hearings and attending the

mediation, with counsel, conducted by Judge Schmidt. As evidenced by the Lockwood Plan

Objection, Mr. Lockwood was aware of the release and exculpation provisions of the Compromise

Plan and, indeed, the revision to section 11.2 contained in paragraph 27 of the Confirmation Order,

as well as paragraph 28 of the Confirmation Order, were both added by the Court at the

confirmation hearing, as a result of the arguments made by Mr. Lockwood’s counsel.

             24.      Nonetheless, and in direct contravention of the Compromise Plan and the

Confirmation Order, on January 7, 2021, Mr. Lockwood sued Shapiro for $1 billion, as set forth

in his Plaintiff’s Original Petition and Request for Disclosure in the 55th Judicial District Court

of Harris County, Texas under Cause No. 202100860 (the “State Court Lawsuit”). A true and

correct copy of the State Court Lawsuit is attached hereto as Exhibit A and is incorporated herein

by reference. Through the State Court Lawsuit, Mr. Lockwood absurdly seeks in excess $1 billion

in damages against Shapiro, despite the fact that Mr. Lockwood was present for every twist and

turn of the chapter 11 cases, and the Court otherwise entered orders approving each key transaction,



11
     See Affidavit of Service at Docket No. 1028, Exhibit B, page 1 of 3.


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including but not limited to the use of cash collateral, the incurrence of DIP financing, the hiring

of an investment banker to assist with the capital raise/sale process, and plan confirmation. 12 In

substance, the State Court Lawsuit asserts:

                 •   Mr. Lockwood expected Shapiro to guide the Debtors through their
                     financial difficulties and return them to their prior beneficial relationship
                     with Wells Fargo, continuing the business for the benefit of Mr. Lockwood.
                     ¶ 5.5.

                 •   Shapiro had exclusive control over the Debtors “and ultimately [Mr.
                     Lockwood] as sole shareholder,” including obtaining financing, liquidating
                     assets and obtaining confirmation of the Compromise Plan. ¶ 5.6

                 •   Shapiro made false disclosures because GlassRatner was acquired by a “B.
                     Riley entity” during the bankruptcy, which maintained a line of credit with
                     Wells Fargo. ¶¶ 5.7 & 5.8.

                 •   Shapiro did not adequately or accurately disclose his conflicts of interest
                     while supporting the Compromise Plan.

                 •   Shapiro’s actions favored Wells Fargo and “subsidiaries of B. Riley
                     Companies” to the detriment of the Debtors and Mr. Lockwood.

                 •   Shapiro breached a duty to Plaintiff as sole shareholder of the Debtors to
                     discharge Shapiro’s duties to the Debtors “and for the benefit of Plaintiff”
                     and “made decisions designed to favor and promote the interests of others
                     and to the detriment of Plaintiff.”

                 •   When Shapiro testified in support of the Compromise Plan, he took an
                     adverse position to Mr. Lockwood that involved an extreme degree of risk
                     and posed a likelihood of serious injury to Mr. Lockwood.

           25.       In sum, the State Court Lawsuit asserts that because Shapiro supported the

Compromise Plan (which was approved by this Court after notice and opportunity for objections),

which ultimately resulted in Mr. Lockwood’s equity interest being eliminated, Mr. Lockwood is

somehow personally damaged and Shapiro is somehow liable.




12
     See paragraphs 1.2 and 2.1 of the State Court Lawsuit.


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                                 ARGUMENT AND AUTHORITIES

I.       This Court Has Exclusive Jurisdiction to Enforce Its Own Orders.

         26.       Bankruptcy courts have jurisdiction to interpret and enforce their own prior

orders. Travelers Indem. Co., 557 U.S. at 151; Am. Airlines Inc. v. Allied Pilots Ass'n, 228 F.3d

574, 585 (5th Cir. 2000) (holding that a bankruptcy court’s authority under section 105 of the

Bankruptcy Code to enforce its own orders cannot be reasonably questioned).

         27.       “A bankruptcy court’s interpretation of its own confirmation order is entitled to

substantial deference.” Travelers Indem. Co., 557 U.S. at 151 n. 4; see also In re Nat’l Gypsum

Co., 219 F.3d 478, 484 (5th Cir. 2000). Under its plain meaning, a bankruptcy court can issue any

order, including a civil contempt order, necessary or appropriate to carry out the provisions of the

Bankruptcy Code. See Rodriguez v. Countrywide Home Loans (In re Rodriguez), 396 B.R. 436,

459 (Bankr. S.D. Tex. 2008) (quoting Musslewhite v. O'Quinn (In re Musslewhite), 270 B.R. 72,

79 (S.D. Tex. 2000)).

         28.       “When interpreting a confirmed plan, Courts apply traditional principles of contract

interpretation.” In re Linn Energy, LLC, 576 B.R. 532, 535 (Bankr. S.D. Tex. 2017), subsequently

aff'd sub nom. UMB Bank, Nat’l Ass’n v. Linn Energy, L.L.C., 927 F.3d 350 (5th Cir. 2019)

(quoting Official Creditors Comm. of Stratford of Tex., Inc. v. Stratford of Tex., Inc. (In re Stratford

of Tex., Inc.), 635 F.2d 365, 368 (5th Cir. 1981)).

         29.       Moreover, the Compromise Plan provides for the Court’s exclusive jurisdiction to,

among other things, “issue injunctions and effect any other actions that may be necessary or

desirable to restrain interference by any entity with the consummation or implementation of the

Plan.” See Compromise Plan Article XII. Specifically, the Court retains exclusive jurisdiction “to




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hear and determine all disputes involving the existence, scope, and nature of the exculpations and

releases granted hereunder.” Id.

         30.       Mr. Lockwood’s institution of the State Court Lawsuit in the first instance, never

mind his continued prosecution of the same, directly contravenes core matters that have already

come before the Court and over which the Court retained exclusive jurisdiction under Article XII

of the Compromise Plan. As a result, this Court, not the state court, is the only proper forum to

determine the Mr. Lockwood’s claims. See also Confirmation Order ¶ 30 (retaining jurisdiction

as set forth in Article XII of the Compromise Plan).

II.      This Court Can, and Should, Enforce the Release, Exculpation and Injunction
         Provisions of the Compromise Plan to Bar the State Court Lawsuit.

         31.       “[A] bankruptcy court’s plan confirmation order cannot, after it becomes final, be

collaterally attacked by parties to the case or those in privity with them.” See Evercore Cap.

Partners v. Nancy Sue Davis Tr. (In re Davis Offshore, L.P.), 644 F.3d 259, 265 (5th Cir. 2011).

Moreover, the Confirmation Order constitutes a final judgment with respect to the alleged pre-

Effective Date conduct that precludes any effort to pursue alleged damages stemming from it.

United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 275 (2010); Howe v. Vaughan (In re

Howe), 913 F.2d 1138, 1143 (5th Cir. 1990) (remarking that “[t]he law in this circuit is well settled

that a plan is binding upon all parties once it is confirmed and all questions that could have been

raised pertaining to such plan are res judicata”).

         32.       Mr. Lockwood’s alleged claims in connection with Shapiro’s alleged failure to

disclose connections to Wells Fargo – to the extent such claims even exist in favor of him

personally and directly (which they do not ) – were discharged, exculpated, released and enjoined

pursuant to the plain language contained in the Confirmation Order and the Compromise Plan.




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The State Court Lawsuit is nothing more than a desperate collateral attack on the Confirmation

Order and a direct violation of the same.

         33.       Indeed, as discussed more fully below, not only do principles of res judicata bar the

claims asserted by Mr. Lockwood in the State Court Litigation, but such claims, had they not been

discharged, released and exculpated, would be derivative claims which Mr. Lockwood does not,

and never had, standing to bring.

         34.       “For a bankruptcy court to enforce the plan after confirmation and to enjoin a

plaintiff from pursuing a claim, two requirements must be met: (1) the bankruptcy court must have

jurisdiction to hear the plaintiff’s claim under 28 U.S.C. § 1334; and (2) the bankruptcy court’s

confirmation order must specifically approve the release of the plaintiff's claim.” Cole v. Nabors

Corp. Servs., Inc. (In re CJ Holding Co.), 597 B.R. 597, 604 (S.D. Tex. 2019) (quoting Travelers

Indem. Co., 557 U.S. at 151–52); see also Hernandez v. Larry Miller Roofing, Inc., 628 F. App’x

281, 286 (5th Cir. 2016) (a plan must specify a creditor’s released claims to bar a subsequent

proceeding by the creditor against a third party). Here, as previously noted, this Court has

exclusive jurisdiction to hear any matter in connection with Shapiro’s and/or GlassRatner’s pre-

Effective Date conduct released and/or exculpated by the Compromise Plan, as approved by the

Confirmation Order. 13 As set forth in the State Court Lawsuit, Mr. Lockwood’s alleged claims all

arise from Shapiro’s alleged pre-Effective Date conduct in connection with the chapter 11 cases.

Accordingly, the Court should enforce the Compromise Plan and the Confirmation Order, enjoin



13
  As paragraph 27 of the Confirmation Order provides with emphasis added, other than with respect to willful
misconduct and gross negligence, Shapiro and GlassRatner were exculpated from “any act or omission in connection
with, relating to, or arising out of the events leading up to the confirmation of this Plan and final approval of the
Disclosure Statement, the negotiation and pursuit of approval of the Disclosure Statement, the preparation of the
Plan, the solicitation of acceptances of the Plan, the pursuit of confirmation of the Plan, the funding of the Plan, the
consummation of the Plan, or the administration of the Plan or the property to be distributed under the Plan,” and
were specifically “deemed to have acted in good faith in connection therewith and entitled to the protections of section
1125(e) of the Bankruptcy Code.


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Mr. Lockwood from continuing to prosecute the State Court Lawsuit, and order immediately

dismissal of the same with prejudice.

III.     Entry of the GlassRatner Fee Order Is Res Judicata as to Mr. Lockwood’s Claims
         Against Shapiro.

         35.       To the extent not already released pursuant to the Confirmation Order and

Compromise Plan, the proper time and forum for Mr. Lockwood to have raised his alleged claims

against Shapiro was in connection with the GlassRatner Fee Application, but he failed to do so.

As a result, the GlassRatner Fee Order is res judicata to, and forecloses entirely, Mr. Lockwood’s

claims against Shapiro as asserted in the State Court Lawsuit. See Osherow v. Ernst & Young,

LLP (In re Intelogic Trace, Inc.), 200 F.3d 382, 390 (5th Cir. 2000) (holding that final fee order

was res judicata to claims against estate professional); see also Frazin v. Haynes & Boone, L.L.P.

(In re Frazin), 732 F.3d 313, 321 (5th Cir. 2013) (holding that the debtor’s “claim for malpractice

was necessarily decided by the bankruptcy court in the process of ruling on the attorneys; fee

applications and thus fell within the bankruptcy court’s jurisdiction”).

         36.       In concluding that a fee hearing was the appropriate forum for parties to present

claims against estate professionals relating to their conduct during a chapter 11 case, the Fifth

Circuit drew comparisons to lender liability claims based on loans deems allowed in bankruptcy

and the failure to bring mandatory counterclaims in connection with claim objections. Id. at 390

(collecting cases). Going a step further, the Fifth Circuit opined that “[i]f [the professional] had

brought suit in Texas state court to recover its fees and [the estate] had not asserted its malpractice

claims by way of counterclaim, then a subsequent suit by [the estate] or its successor-in-interest

would be barred by res judicata.” See Goggin v. Grimes, 969 S.W.2d 135, 138 (Tex. App. –

Houston [14th Dist.] 1998, no pet.). Accordingly, this Court should hold that the GlassRatner Fee

Order bars Mr. Lockwood’s claims against Shapiro in the State Court Lawsuit.



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IV.      If Mr. Lockwood Has Asserted Colorable Claims Against Shapiro, They Are
         Derivative, and Thus, He Lacks Standing to Assert Them.

         37.       Even if Mr. Lockwood has asserted colorable claims against Shapiro (which he has

not), he lacks standing to assert them because they are derivative claims that belonged to the

Debtors’ bankruptcy estate and were either released pursuant to section 11.3 of the Compromise

Plan or assigned to the Creditor Trust pursuant to section 11.1 of the Compromise Plan.

         38.       “[P]roperty of the [bankruptcy] estate includes ‘all legal or equitable interests of

the debtor in property as of the commencement of the case’.” Schertz–Cibolo–Universal City,

Independent School District v. Wright (In re Educators Grp. Health Tr.), 25 F.3d 1281, 1284 (5th

Cir. 1994) (quoting 11 U.S.C. § 541(a)(1)). “The term ‘all legal or equitable interests’ has been

defined broadly to include causes of action.” Id. (citing La. World Exposition v. Fed. Ins. Co., 858

F.2d 233, 245 (5th Cir. 1988)). “If a cause of action belongs to the estate, then the trustee has

exclusive standing to assert the claim.” Id. at 1284 (citing cases). “If, on the other hand, a cause

of action belongs solely to the estate’s creditors, then the trustee has no standing to bring the cause

of action.” Id., see also Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912

F.3d 291, 296 – 97 (5th Cir. 2019).

         39.       When determining whether a claim is direct or derivative, courts focus on whether

the creditor has suffered a direct injury or one that is derivative of an injury to the debtor. In re

Buccaneer Res, L.L.C., 912 F.3d at.at 293. If a claim depends upon, or derives from, harm to the

estate or depletion of estate assets, the claims are derivative; and if the claims do not depend upon

harm to the estate, they are direct. Id. (citing Highland Cap. Mgmt. LP v. Chesapeake Energy

Corp. (In re Seven Seas Petroleum, Inc.), 522 F.3d 575, 584 (5th Cir. 2008); see also In re

Educators Grp. Health Tr., 25 F.3d 1281, 1284–85 (5th Cir. 1994) (holding claims to be derivative

where they asserted harms arising from harm to the estate). “To pursue a claim on its own behalf,



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a creditor must show this direct injury is not dependent on injury to the estate.” In re Buccaneer

Res, L.L.C., 912 F.3d at 293–94 n.1.

           40.      Here, Mr. Lockwood complains that:

                    Shapiro’s action and decisions while CRO favored Wells Fargo Bank and
                    subsidiaries of B. Riley companies, to the detriment of the Lockwood
                    Entities and Plaintiff. Shapiro did not adequately or accurately disclose his
                    clear conflicts of interest, and in fact while this conflict was present,
                    supported a Chapter 11 Bankruptcy Plan which benefitted Wells Fargo
                    Bank and entities other than the Lockwood entities which he was bound to
                    act in the best interests of, and in the process damaged Plaintiff 14

These are statements of alleged generalized harm to the Debtors in which all the Debtors’ creditors

share. Applying the Fifth Circuit’s reasoning from Buccaneer, the alleged injury to Mr. Lockwood

only comes about from an alleged injury to the estate. See id. at 293. Furthermore, Shapiro did

not owe a direct duty to Mr. Lockwood; rather, he was an estate professional with duties to the

Debtors’ bankruptcy estate only – not individual constituent. In re Lyons Equip. Co., Inc., 436

B.R. 281, 285 (Bankr. W.D.N.Y. 2010) (holding “[t]he restructuring officer simply owes no

special duty to any specific creditor or employee”); see also ICM Notes, Ltd. v. Andrews & Kurth,

L.L.P., 278 B.R. 117, 126 (S.D. Tex. 2002), aff’d sub nom. In re ICM Notes Ltd., 324 F.3d 768

(5th Cir. 2003) (holding that although chapter 11 debtors’ counsel owes a general fiduciary duty

to preserve the bankruptcy estate, it did not owe a duty to an individual creditor). At no point can

Mr. Lockwood prove that he was individually injured by the alleged actions of Shapiro or that

Shapiro otherwise owed him an individual duty. As a result, Mr. Lockwood cannot bootstrap

himself into holding a direct claim, as this Court has already acknowledged at the confirmation

hearing. 15 Mr. Lockwood’s claim is derivative in nature and jurisdiction lies with the Bankruptcy




14
     State Court Lawsuit ¶ 5.9 (emphasis added).
15
     See Tr. at 56:2-11.


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Court because it is property of the estate. Id.; see also 11 U.S.C. § 541(a)(1). As a result, even if

Mr. Lockwood has pled a claim against Shapiro in the State Court Lawsuit, he lacks standing to

assert and prosecute the same.

V.       The Court Should Award Shapiro His Fees and Expenses Incurred in Connection
         with the Filing and Prosecution of this Motion.

         41.       Courts have inherent power to award attorney’s fees against a party that has

engaged in bad-faith conduct. Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991). “In Chambers,

the Supreme Court held that a district court may sanction parties for conduct that occurs in portions

of the court proceeding that are not part of the trial itself.” FDIC v. Maxxam, Inc., 523 F.3d 566,

590–91 (5th Cir. 2008). The Fifth Circuit has qualified Chambers by emphasizing that its rule

allows for the award of attorney’s fees when a party’s “bad-faith conduct,” beyond that occurring

in trial, is in direct defiance of the court. Id. at 591 (citation omitted); see In re Case, 937 F.2d

1014, 1023 (5th Cir. 1991) (finding the power to assess attorney’s fees, based on the inherent

powers of the court, equally applicable to the bankruptcy court).

         42.       A bankruptcy court may assess attorney’s fees “pursuant to its inherent authority to

police practitioners who act in direct contravention of its orders,” regardless of whether the bad

acts occur before the bankruptcy court or in another forum. In re Skyport Glob. Commc’n, Inc.,

942 F. App’x at 303; CJC Holdings, Inc. v. Wright & Lato, Inc., 989 F.2d 791, 793 (5th Cir. 1993)

(distinguishing Case, which held that bankruptcy court could not award fees for bad-faith conduct

in a separate state court proceeding that was “completely collateral to the proceeding in the

bankruptcy court,” from Chambers and noting that the filing in Chambers “directly violated the

district court’s order to maintain the status quo pending the outcome of the litigation”). Before

awarding fees, the court must make a specific finding that the litigant engaged in bad-faith conduct.

In re Yorkshire, LLC, 540 F.3d 328, 332 (5th Cir. 2008). The Fifth Circuit has affirmed fee awards



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assessed by a bankruptcy court upon a bad faith finding that the litigant filed a state court petition

in direct contravention of a bankruptcy court order and releases and injunctions contained therein.

Skyport Glob., 942 F. App’x at 304.

           43.      Here, Mr. Lockwood engaged in bad faith conduct by seeking to end-run the

Confirmation Order. The fact that Mr. Lockwood’s bad-faith conduct occurred in a separate state

court proceeding is of no moment. As a result, the Court should award Shapiro his fees and

expenses incurred in connection with the filing a prosecution of this Motion, to be submitted via

declaration following the conclusion of a hearing on the Motion.

                                  REQUEST FOR EMERGENCY HEARING

           44.      The State Court Lawsuit was filed on January 7, 2021 and was served upon Shapiro

on January 13, 2021. On that same day, the undersigned counsel emailed counsel to Mr.

Lockwood requesting that the State Court Lawsuit be dismissed. No response was received, and

counsel again sent an email on January 30. See Exhibit B attached hereto. Although counsel to

Mr. Lockwood in the State Court Lawsuit has still not responded to either the January 13 or 30

emails, potential bankruptcy counsel to Mr. Lockwood contacted the undersigned on January

30. After a telephonic discussion with potential counsel, given that potential counsel had not yet

been retained, the undersigned informed potential counsel that the current Motion would be filed

without delay. The deadline for Shapiro to file an answer in the State Court Lawsuit is Monday,
                                          16
February 8, 2021 at 10:00 A.M.                 Thus, Shapiro respectfully submits that emergency

consideration of this Motion on February 4, 2021 is warranted and appropriate.




16
     See Tex. R. Civ. P. 99(b).


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         WHEREFORE, Shapiro respectfully requests that the Court (a) enforce the Confirmation

Order and the GlassRatner Fee Order, (b) find that the filing of the State Court Lawsuit violates

the Compromise Plan, the Confirmation Order and the GlassRatner Fee Order, (c) direct Mr.

Lockwood to dismiss the State Court Lawsuit with prejudice, (d) order Mr. Lockwood to pay

Shapiro’s legal fees incurred in connection with the preparation and prosecution of this Motion,

and (e) grant such other and further relief as may be just and proper.

         Respectfully submitted this 31st day of January, 2021.

                                              GRAY REED

                                              By: /s/ Jason S. Brookner
                                                  Jason S. Brookner
                                                  Texas Bar No. 24033684
                                              1300 Post Oak Blvd., Suite 2000
                                              Houston, Texas 77056
                                              Telephone: (713) 986-7000
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                                              -and-

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                                              COUNSEL TO MARK SHAPIRO, AS
                                              FORMER CHIEF RESTRUCTURING
                                              OFFICER TO THE DEBTORS




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                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that on January 13 and 30, 2021, as show on Exhibit B
attached hereto, he emailed counsel to Mr. Lockwood, requesting dismissal of the State Court
Lawsuit and informing counsel the foregoing motion would be filed and expedited consideration
requested if the matter was not dismissed. Counsel to Mr. Lockwood did not respond to these
emails. On January 30, 2021, potential bankruptcy counsel to Mr. Lockwood contacted the
undersigned. After a telephonic discussion with potential counsel, given that potential counsel had
not yet been retained, the undersigned informed potential counsel that the Motion would be filed
without delay.

                                             /s/ Jason S. Brookner
                                             Jason S. Brookner


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 31st day of January, 2021, he caused a true
and correct copy of the foregoing pleading to be served via CM/ECF on all parties who have
subscribed for electronic notice in this case, and via electronic communication to the following
persons:

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 Marcus Spagnoletti
 Eric Rhine
 Spagnoletti Law Firm
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 Houston, TX 77002
 frank@spaglaw.com
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                                              /s/ Jason S. Brookner
                                             Jason S. Brookner




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Jason S. Brookner

From:                                         Jason S. Brookner
Sent:                                         Saturday, January 30, 2021 12:24 PM
To:                                           frank@spaglaw.com; mspagnoletti@spaglaw.com; erhine@spaglaw.com
Cc:                                           Lydia Webb
Subject:                                      Re: Lockwood v. Shaprio


Gentlemen good morning, we were having email problems today and so I just noticed that my email from this morning
came across blank.

What I wanted to ask was whether you had any response to the below email? We are preparing to file our pleading in
front of Judge Jones on Monday and seek emergency consideration.

Please advise whether you plan to nonsuit with prejudice the state court litigation, or whether we should proceed in
front of Judge Jones, including a request for our legal fees.

We can only assume that you did the proper research before filing the state court action, in which case filing the action
willfully violated the confirmation order and the plan. If you didn’t do the proper research, then the actually is frivolous.

Either way, the request for $1 billion in damages, in and of itself, is absurd and frivolous.

Please respond at your earliest convenience or we will proceed as planned on Monday, with all rights reserved in every
way.

Sent from my iPhone


Jason S. Brookner
Partner
Tel 469.320.6132 | Fax 469.320.6894 | jbrookner@grayreed.com
Dallas Office: 1601 Elm St., Suite 4600 | Dallas, TX 75201
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On Jan 13, 2021, at 2:40 PM, Jason S. Brookner <jbrookner@grayreed.com> wrote:


Gentleman I hope this email finds you and your loved ones safe and well and healthy. Happy new year. Frank, it’s been
a while and hope you have been well.


                                                                              B  1
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                                                                       1


1                IN THE UNITED STATES BANKRUPTCY COURT

2                  FOR THE SOUTHERN DISTRICT OF TEXAS

3                             HOUSTON DIVISION

4    IN RE:                           §     CASE NO. 18-30197-H2-11
                                      §     HOUSTON, TEXAS
5    LOCKWOOD HOLDINGS,               §     TUESDAY,
     INC., ET AL                      §     FEBRUARY 5, 2019
6                  DEBTORS.           §     2:33 P.M. TO 4:03 P.M.

7
                    DISCLOSURE HEARING/CONFIRMATION
8
                  BEFORE THE HONORABLE DAVID R. JONES
9                    UNITED STATES BANKRUPTCY JUDGE

10

11

12             APPEARANCES:           SEE NEXT PAGE

13             COURT RECORDER:        VRIANA PORTILLO

14             COURT CLERK:           VRIANA PORTILLO

15

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19

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                                                                       3


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                    MICHAEL LOCKWOOD - DIRECT BY MS. WEBB              56


1               MR. UMARI:     Correct.

2               THE COURT:     Mr. Brookner, I just want to make

3    sure that the Debtors understand that that is the problem

4    and that as part of the compromise, that claim -- I don’t

5    understand how there could be a direct claim and I don’t

6    understand how you could release a third party claim.         I

7    just don’t -- one, I don’t say anything could arise because

8    if I make the findings under 1129, to the extent that it all

9    rises out of the bankruptcy and the confirmation process,

10   there simply can’t be a direct claim.        So, Mr. Brookner, let

11   me -- help me understand --

12         (Phone noise.)

13              THE COURT:     So, Mr. Brookner, help me understand

14   what it is that we’re actually fighting over.

15              MR. BROOKNER:     Your Honor, at the risk of

16   being -- this is actually really not the Debtors’ fight.

17   It’s the Debtors’ Plan that was negotiated.

18              THE COURT:     Right.

19              MR. BROOKNER:     And so it’s really more of a Wells

20   Fargo issue.

21              THE COURT:     No, it’s the Debtors as plan sponsors

22   so I want to understand what it is that the Debtor’s trying

23   to accomplish.

24              MR. BROOKNER:     The Debtor is trying to implement

25   the negotiated resolution that took place at the mediation




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1    with Judge Schmidt.

2                  THE COURT:   And what is the resolution that you

3    are trying to implement, as you understand it, on behalf of

4    the Debtors?

5                  MR. BROOKNER:      Is that to the -- is that in

6    conjunction, as Your Honor has mentioned, with the good

7    faith findings and the confirmation of the Plan, that there

8    would be that -- excuse me -- Section 1125(e) of the

9    Bankruptcy Code, which references good faith in the -- and

10   exculpations for the good faith and the solicitation --

11                 THE COURT:   Right.

12                 MR. BROOKNER:      -- execution, et cetera, of a plan

13   and doing all that.     That is basically what is embodied in

14   11.2 and it does not restrict itself only to estate

15   professionals and representatives.        You have the Code,

16   Your Honor.    I can get mine.      I believe it says, “Any

17   person.”   So Wells Fargo is such a person or such people, as

18   it were, who participated in the plan process, negotiation,

19   implementation, consummation and as a result they should be

20   entitled to the protections of 1125(e).

21                 THE COURT:   So you guys are both talking way past

22   me and not listening to me so I’m going to try this again.

23                 MR. BROOKNER:      I’m sorry, I’m trying, Your Honor.

24                 THE COURT:   No.    So if Wells Fargo went out

25   post-petition and an officer of Wells Fargo, in the course




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1    and scope of the officer’s duty, had a car accident with

2    Mr. Lockwood, clearly we would all agree that 11.2 does not

3    cover that condition, right?

4               MR. BROOKNER:     Correct.

5               THE COURT:    So do both of you agree that all that

6    we’re talking about is simply the bankruptcy process, the

7    plan process, the disclosure statement process and that’s

8    it?

9               MR. BROOKNER:     I will agree with you, Your Honor.

10              THE COURT:    Right.

11              MR. BROOKNER:     I can’t speak for --

12              MR. UMARI:    I would agree as well.        Particularly

13   it’s one phrase --

14              THE COURT:    Okay.

15              MR. UMARI:    -- one phrase that we find

16   problematic --

17              THE COURT:    Okay.

18              MR. UMARI:    -- if you look at Section 11.2.

19              THE COURT:    Okay.    Can you help me?

20              MR. UMARI:    “For any act or omission” -- and this

21   is kind of in the middle of the paragraph --

22              THE COURT:    I got it.

23              MR. UMARI:    -- “in connection with, relating to

24   or arising out” -- and this is the problem we have is that

25   first clause -- “of the administration of the Chapter 11




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1    cases.”    The rest is fine with us.      And I proposed that

2    change to Mr. Brookner.

3                  THE COURT:   So, Mr. Davis, let me ask you.

4                  Do you have any issue with the deletion of those

5    words?    Because quite frankly they’re repetitive.

6                  MR. DAVIS:   Your Honor, I would -- I’m happy to

7    take a look at it and get a clear understanding of why they

8    may be repetitive.     But our -- to answer Your Honor’s

9    question, the problem -- or the reason that we’re insistent

10   upon the language is: that was the crux of the deal that was

11   struck at mediation.

12                 THE COURT:   Okay.   And tell me what those words

13   mean that are not encompassed in the rest of that paragraph.

14   I think you both are being silly, but I’m -- we’re going to

15   walk through this until we reach a conclusion one way or the

16   other.

17                 MR. DAVIS:   If you would bear with me,

18   Your Honor?

19                 THE COURT:   Sure.

20            (Pause in the proceedings.)

21                 MR. DAVIS:   Your Honor, I think the distinction

22   that I would draw between that particular phrase and the

23   rest of the language -- the rest of the exculpation language

24   is that the administration of the Chapter 11 cases deals

25   with matters that are not necessarily related to plan




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1    development and solicitation that occurred throughout the

2    rest of the bankruptcy cases.

3               MR. UMARI:     That’s precisely our trouble with it.

4          (Pause in the proceedings.)

5               THE COURT:     Okay.   So let me see if I can draw

6    this out because I still don’t understand.        So if the

7    language says -- I mean, if we struck through “of the

8    administration of the Chapter 11 cases” and it read “in

9    connection with, relating to or arising out of the events

10   leading to the confirmation of the proposed Plan or approval

11   of the Disclosure Statement,” tell me the difference between

12   what I said, which can’t be objectionable, and what you

13   wrote, which Mr. Umari finds to be objectionable.         I’m going

14   to ask the same question to Mr. Umari.

15              MR. DAVIS:     I think that that language would be

16   acceptable, Your Honor.

17              THE COURT:     Okay.   Mr. Umari?

18              MR. DAVIS:     I think it has the same effect.

19              MR. UMARI:     And it has the same -- that would be

20   acceptable to us as well.

21              THE COURT:     There you go.    All right.    Sounds

22   like we have a resolution.     We’ll substitute those words in

23   for the paragraph of 11.2 and we’ll add a statement to the

24   Confirmation Order that says, “Nothing in the Confirmation

25   Order or the Plan can in any way release or effect any




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1    direct claims” -- and I want those words in there “any

2    direct claims” because Mr. Lockwood does not have the

3    ability to bring derivative causes of action.

4               MR. SPEAKER:     Correct.

5               THE COURT:     I think that Judge Costa, in

6    affirming my favorite bankruptcy judge, me, defines what a

7    “derivative cause of action” is or what the distinction

8    between “direct” and “derivative” is in probably the most

9    concise way that I’ve ever seen done so that ought to be

10   very clear and very easy to follow.

11              And with that, Mr. Umari, then at that point

12   Mr. Lockwood has no further objection?

13              MR. UMARI:     That is correct, Your Honor.

14              THE COURT:     All right.    Mr. Brookner, is the

15   Debtor willing to make those changes?

16              MR. BROOKNER:     Yes, Your Honor.     And I was going

17   to ask if you could please repeat your language one more

18   time so I can write it and we can implement it?        What I

19   would propose, Your Honor, is that we just revise Section

20   11.2 in the Confirmation Order itself the same way that we

21   revised the definition of “prepetition lenders

22   contribution.”

23              THE COURT:     And just say that “the following

24   paragraph 11.2 is substituted in its entirety.”

25              MR. BROOKNER:     Correct.




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1                  I certify that the foregoing is a correct

2    transcript to the best of my ability due to the condition of

3    the electronic sound recording of the proceedings in the

4    above-entitled matter.

5    /S/ MARY D. HENRY
6    CERTIFIED BY THE AMERICAN ASSOCIATION OF

7    ELECTRONIC REPORTERS AND TRANSCRIBERS, CET**337

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9    JTT TRANSCRIPT #59907

10   DATE FILED:    FEBRUARY 7, 2019

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